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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

__________________________________________
                                          )
Incredibowl Industries, LLC               )
                                          )                 Case No.: 1:18-cv-7367
       v.                                 )
                                          )                 Judge: Honorable John J. Tharp, Jr.
Does 1-36                                 )
                                          )                 Magistrate: Honorable Young B. Kim
                                          )
__________________________________________)



    AGREED MOTION FOR STIPULATED DISMISSAL WITHOUT PREJUDICE


        Plaintiff, Incredibowl Industries, LLC and Defendants 晓琴 黄 (Doe 03) AKA

 “Berylqin”; Defendant 光霁 酆 (Doe 04) AKA “Bestyle Home Textile Company” and

 “li64329junl”; Defendant 艳 熊 (Doe 06) AKA “Chaoliunanku99”; Defendant 孙乐福 (Doe

 10) AKA Lefu SUN; Defendant JIAN ZHANG (DOE 18) AKA “HUANGZ”; Defendant 韩雨

 (Doe 20) AKA Yu HAN; Defendant 李显 (Doe 24) AKA Xian LI; Defendant HUCAOGEGE

 杨自兵 (DOE 26) AKA “QUARTZ WATCH MEN”; Defendant 世强 王 (Doe 27) AKA


 “SHIQIANG STORE”; Defendant 倩 王 (Doe 28) AKA “Struggle for a Better Future”;

 Defendant 王鹏 (Doe 33) AKA Peng WANG; Defendant 候 才涛 (Doe 35) AKA

 “Zhangjian1993”; and Defendant 静 张 (Doe 36) AKA “Zyou” (collectively “the parties”),


 hereby move for the entry of a stipulated dismissal of this case without prejudice.




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        In support of this Motion, the parties state as follows:

    1. The parties have entered into a Settlement Agreement which provides for the resolution

        of this Action without further litigation.

    2. Contingent on performance of this Settlement Agreement is the cooperation of certain

        third party asset holders who have not yet apportioned frozen assets.

    3. However, the Parties believe that the matter will be resolved shortly, therefore dismissal

        is warranted to assist the Defendants resume their commercial activities as

        contemplated in the Settlement Agreement.


        WHEREFORE, the parties hereby request that the Court

            a. Enter the proposed Stipulated Dismissal Order authorizing disbursal of the
               frozen assets as agreed between the Parties;
            b. Retain jurisdiction to enforce settlement and grant leave to reinstate the claims
               against the Defendants if settlement fails; and
            c. Dismiss this action without prejudice, and without attorneys’ fees or costs
               assessed to any party subject to reinstatement.

Dated this 14th of March 2019.


                                                                           Respectfully submitted,

                                                             By:           /s/ Rishi Nair
                                                                                         Rishi Nair
                                                                                 ARDC # 6305871
                                                                                   Kevin J. Keener
                                                                                 ARDC # 6296898
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